       Case 3:15-cr-03237-DMS                             Document 118                   Filed 05/23/16                 PageID.308                 Page 1 of 2


     'AO 245B (CASD) (Rev. 4114)
                 Sheet 1
                                       Judgment in a Criminal Case
                                                                                                                                             FILED
                                                                                                                                             MAY .2 8 2016
                                                  UNITED STATES DISTRICT COU T
                                                                                                                                  CLERK US
                                                        SOUTHERN DISTRICT OF CALIFORNIA SOUTHERN DjSJ'rpfC~l/cj~t4rtiORf:i
                                                                                                                             BY                  71
                      UNITED STATES OF AMERICA                                               JUDGMENT IN A tR:nm~~~IiaJ~~mJ
                                            v.                                               (For Offenses Committed On or After November 1, 1987

                        RODOLFO ESTRADA-TREJO                                                Case Number: 15CR3237-DMS
                                                                                             Antonio Yoon CJ A
                                                                                             Defendant's Attorney
     REGISTRATION NO. 51791298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) 1 ofthe Superseding Information
     D was found guilty on COunt(S)i_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea ofnot guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                           Count
     Title & Section                             Nature of Offense                                                                                        Number(s)
8 USC 1325                                ILLEGAL ENTRY (Misdemeanor)                                                                                     Is




        The defendant is sentenced as provided in pages 2 through                        2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not guilty on count(s}

 'lC.I
   XI Count(s).....;1;;;;n...;;u;;;;.n;;;;e.;..r~yl...;;n.:::.g.;..n...;;..lc.;..tm.;..e_n_t
                                 d I' I d'                                                             -----------------------------------------------
                                                                                             _ _ _ _ _ _ _ _ _ _ _ _ is D are~
                                                                                                                            IV! d'Ismlsse
                                                                                                                                     , d on themotIOno
                                                                                                                                                  .    f the U mte
                                                                                                                                                                . d States.

 ~ Assessment: $10.00 ordered waived.



 ~ Fine waived                                           D Forfeiture pursuant to order filed                                  , included herein.
                                                                                                          ----------
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney ofany material change in the defendant's economic circumstances,
                                                                                      Ma 20,2016
                                                                                      Date ofImposition ofSentence




                                                                                                                                                             15CR3237-DMS
 Case 3:15-cr-03237-DMS                       Document 118           Filed 05/23/16            PageID.309            Page 2 of 2

AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                  Judgment-Page _...;;2~ of           2
 DEFENDANT: RODOLFO ESTRADA-TREJO
 CASE NUMBER: 15CR3237-DMS
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.     Op.m.       on
               as notified by the United States MarshaL

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                      to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                               UNITED STATES MARSHAL


                                                                     By _ _ _ _~==~~==~~~~~~--------
                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                          15CR3237-DMS
